                                                             FILED
                          NOT FOR PUBLICATION                FEB 21 2014

                                                          MOLLY C. DWYER, CLERK
                 UNITED STATES COURT OF APPEALS            U.S. COURT OF APPEALS



                          FOR THE NINTH CIRCUIT


CINDY LEE GARCIA,                       No. 12-57302

            Plaintiff - Appellant,      D.C. No. 2:12-cv-08315-MWF-
                                        VBK
  v.

GOOGLE, INC., a Delaware                ORDER
Corporation; YOUTUBE, LLC, a
California limited liability company,

            Defendants - Appellees,

  And

NAKOULA BASSELEY NAKOULA,
an individual, AKA Sam Bacile; MARK
BASSELEY YOUSSEF; ABANOB
BASSELEY NAKOULA; MATTHEW
NEKOLA; AHMED HAMDY; AMAL
NADA; DANIEL K. CARESMAN;
KRITBAG DIFRAT; SOBHI BUSHRA;
ROBERT BACILY; NICOLA
BACILY; THOMAS J. TANAS;
ERWIN SALAMEH; YOUSSEFF M.
BASSELEY; MALID AHLAWI,

            Defendants.



Before:    KOZINSKI, Chief Judge, GOULD and N.R. SMITH, Circuit
           Judges.
                                                                                  page 2
      Appellees’ emergency stay motion is denied.

      The opinion in this case is currently scheduled to issue on Wednesday,

February 26, 2014. The opinion reverses the denial of the preliminary injunction

and provides a detailed explanation. The order of February 19, 2014, was issued in

advance of the opinion to prevent a rush to copy and proliferate the film before

Google can comply with the order.

      Neither the parties nor counsel shall disclose this order or the order of

February 19 until the opinion is actually published.
